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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
ROTHSCHILD DIGITAL                  )
CONFIRMATION LLC,                   )
                                    )
            Plaintiff               )
                                    )                   Case No. 17-CV-11706-NMG
v.                                  )
                                    )
REPSLY, INC.,                       )
                                    )
            Defendant               )
____________________________________)

  UNOPPOSED MOTION TO EXTEND TIME TO RESPOND TO THE COMPLAINT

       Pursuant to Fed. R. Civ. P. 6(b), Defendant Repsly, Inc. (“Repsly”) moves for a thirty

(30) day extension of time to and including November 6, 2017 (the first weekday following 30

days from the current deadline) to answer or otherwise respond to the Complaint. As grounds

for this motion, Repsly states as follows:


       1.      Plaintiff filed the complaint in the above-captioned action on September 8, 2017.

The complaint was served on September 14, 2017.


       2.      The current due date for a response to the complaint is October 5, 2017.


       3.      Repsly requests an extension of thirty (30) days to enable it to fully address the

allegations raised in the complaint or otherwise move under Rule 12.


       4.      This is Repsly’s first request for an extension of time for this purpose.


       5.      Plaintiff does not oppose this motion.
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       6.      No scheduling deadlines have yet been entered, and the requested extension will

not prejudice either party.


       WHEREFORE, Repsly requests that the Court grant this motion and reset the deadline

for Repsly to respond to the complaint to November 6, 2017.


September 27, 2017                          Respectfully submitted,

                                            REPSLY, INC.
                                            By its attorneys,

                                            /s/ Micah W. Miller_________
                                            Heather B. Repicky (BBO# 663347)
                                            hrepicky@nutter.com
                                            Micah W. Miller (BBO# 676189)
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                                            Boston, MA 02210
                                            617-439-2000


                              LOCAL RULE 7.1 CERTIFICATION

        I hereby certify that counsel for defendant, Micah W. Miller, conferred with counsel for
plaintiff, Jean G. Vidal-Font, by telephone on September 25, 2017. Plaintiff’s counsel indicated
it did not oppose this motion.

                                            /s/Micah W. Miller__________
                                            Micah W. Miller




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                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing document was filed through the electronic
filing system and served electronically to the registered participants as identified on the Notice of
Electronic Filing.

                                              /s/Micah W. Miller__________
                                              Micah W. Miller




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